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                              CERTIFICATE OF SERVICE

Case Name:     Michael Madden, et al. v.                 No.    1:18-CV-00255-ADA-BAM
               Hicks, et al.

I hereby certify that on October 3, 2023, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
       DEFENDANTS’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
       BASED ON EXHAUSTION OF ADMINISTRATIVE REMEDIES
       DEFENDANTS' RAND WARNING TO PLAINTIFF REGARDING OPPOSING SUMMARY
       JUDGMENT
       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANTS’
       MOTION FOR SUMMARY JUDGMENT BASED ON EXHAUSTION OF
       ADMINISTRATIVE REMEDIES
       DEFENDANTS’ STATEMENT OF UNDISPUTED FACTS IN SUPPORT OF MOTION FOR
       SUMMARY JUDGMENT
       DECLARATION OF HOWARD E. MOSELEY IN SUPPORT OF DEFENDANTS’ MOTION
       FOR SUMMARY JUDGEMENT
Participants in the case who are registered CM/ECF users will be served by the CM/ECF system.
I am employed in the Office of the Attorney General, which is the office of a member of the
California State Bar at which member's direction this service is made. I am 18 years of age or
older and not a party to this matter. I am familiar with the business practice at the Office of the
Attorney General for collection and processing of correspondence for mailing with the United
States Postal Service. In accordance with that practice, correspondence placed in the internal
mail collection system at the Office of the Attorney General is deposited with the United States
Postal Service with postage thereon fully prepaid that same day in the ordinary course of
business.
I further certify that some of the participants in the case are not registered CM/ECF users. On
October 3, 2023, I have caused to be mailed in the Office of the Attorney General's internal mail
system, the foregoing document(s) by First-Class Mail, postage prepaid, or have dispatched it to
a third party commercial carrier for delivery within three (3) calendar days to the following non-
CM/ECF participants:
Michael & Kathy Madden
5956 Ruthwood Drive
Calabasas, CA 91302
In Pro Per

I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on October 3,
2023, at Sacramento, California.

             Ritta Mashriqi                                      /s/Ritta Mashriqi
               Declarant                                             Signature
